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                                         UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA

                                                                      www.f1sb.uscoiuls.gov
                                                          CHAPTER 13 PLAN flndividual Adjustment of Debtsi
                                  □                                                 Original Plan

                                  @ FIRST                                           Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)

                                  □                                                 Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

     DEBTOR: Juan Carlos Vargas                                      JOINT DEBTOR:                                            CASE NO.: 25-14307 LMI

     SS#: xxx-xx- 0779                                                SS#: xxx-xx-

     I.           NOTICES

                  To Debtors:            Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans and
                                         modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to Local
                                         Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of filing
                                         the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
                  To Creditors:             Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                                            be reduced, modified or eliminated.
                  To All Parties;        The plan contains no nonstandard provisions other than those set out in paragraph IX. Debtor(s) must check one box
                                          on each line listed below in this section to state whether the plan includes any of the following:

          The valuation of a secured claim, set out in Section III, which may result in a
                                                                                                                              I   I   Included        [¥]   Not included
          partial payment or no payment at all to the secured creditor
          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set                             I   I   Included        [■]   Not included
          out in Section III

          Nonstandard provisions, set out in Section IX                                                                       [■1     Included        n     Not included
    II.          PLAN PAYMENTS. LENGTH OF PLAN AND DEBTORfSV ATTORNEVS FEE


                 A.         MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
                           fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
                           amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                           1.     $723.86               for months     1     to 36          ;

                 B.        DEBTORfSV ATTORNEY’S FEE:                                                    □ NONE    □ PRO BONO
              Total Fees:                   $5,200.00           Total Paid:                     $1,500.00          Balance Due:           $3,700.00

              Payable _               $651.48           /month (Months _1_ to 5                 )
              Payable _               $442.63           /month (Months      6       to     6    )
              Allowed fees under LR 2016-1(B)(2) are itemized below;
              Safe Harbor: $5,000.00 Attorney's Fees + $200.00 Costs = $5,200.00

              Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
    HI.          TREATMENT OF SECURED CLAIMS                               [f] NONE
    IV.          TREATMENT OF FEES AND PRIORITY CLAIMS fas defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]                                            D NONE
    V.           TREATMENT OF UNSECURED NQNPRIORITY CREDITORS                                                    □ NONE
                      A. Pay             $0.00          /month (Months          1        to 5       )

                            Pay         $208.84         /month (Months        6          to 6       )

                            Pay         $651.48         /month (Months        7          to 36 )

                            Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
                      B.    □ If checked, the Debtor(s) will amend/modily to pay 100% to all allowed unsecured nonpriority claims.
                      C.    SEPARATELY CLASSIFIED:                   H NONE



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VI.          .STUDENT LOAN PROGRAM                    [h] NONE
VII.          EXECUTORY CONTRACTS AND UNEXPIRED LEASES                                     [i] NONE
VIII.         INCOME TAX RETURNS AND REFUNDS:

                       @ The debtor(s) is hereby advised that the chapter !3 trustee has requested that the debtor(s) comply with 521(f) 1-4 on an
                         anntial basis during the pendency of this case. The dcbtor(s) hereby acknowledges that the deadline for providing the
                         Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that the debtor(s) shall
                         provide the trustee (but not lllc with the Court) with verification of their disposable income if their gross household income
                         increases by more than 3% over the previous year’s income. [Miami cases]
IX.          NON-STANDARD PLAN PROVISIONS □ NONE
             ® Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
                Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.
               Confirmation ofthe plan shall not bar Debtor's counsel from filing an Application for Compensation for any work performed
               before confirmation,
             Q Mortgage Modification Mediation


                            PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

   I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.
                  ,./
                                                Debtor                                                             Joint Debtor
                5=4.
                                                                 Date                                                                     Date
  Juan Carlos Vargas




  /s/ Jose A. Blanco. Esq.
                                                               Date
      Attorney with permission to sign on
       Dcblor(s)' behalf who certifies that
       the contents of the plan have been
          reviewed and approved by the
                           Dcbtor(s). *

   By filing this document, (he Attorney for Dcbtor(s) or Dehtor(s), if not represented by counsel, certifies that the wording and
   order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
   contains no nonstandard |)i ovisions other than those set out in paragrapii IX.




'This certification requirement applies even if the Debtor(s) have executed a limited power of attorney to Debtor(s)' attorney authorizing the
attorney to sign documents on the Dcbtor(s)' behalf




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